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                                          #:8608

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                   8
                   9                            UNITED STATES DISTRICT COURT
              10                              CENTRAL DISTRICT OF CALIFORNIA
              11
                        CITY OF ALMATY,                           Case No. 2:14-cv-03650-FMO
              12
                                          Plaintiff,               Judge: Hon. Fernando M. Olguin
              13                                                   Magistrate Judge:
                                v.
              14                                                   [DISCOVERY MATTER]
                        VIKTOR KHRAPUNOV; et al.,
              15                                                   DECLARATION OF KENDALL M.
                                          Defendants.             HOWES IN SUPPORT OF
              16                                                  PLAINTIFF CITY OF ALMATY’S
                                                                  NOTICE OF MOTION AND MOTION
              17                                                  TO COMPEL DEPOSITIONS AND
                                                                  RESPONSES AND PRODUCTION OF
              18                                                  DOCUMENTS RESPONSIVE TO
                                                                  PLAINTIFF’S INTERROGATORIES,
              19                                                  REQUESTS FOR PRODUCTION OF
                                                                  DOCUMENTS, AND REQUESTS FOR
              20                                                  ADMISSIONS BY DEFENDANTS
              21                                                  Hearing Date: February 12, 2018
                                                                  Time: 10:00 a.m.
              22                                                  Court Room: 640
              23                                                  Discovery Cut-Off: February 12, 2018
                                                                  Pre-Trial Conference: August 17, 2018
              24                                                  Trial: September 11, 2018
              25                                                  Action Filed: May 13, 2014
              26
              27
              28
                       US-DOCS\98327027                                          DELCARATION OF KENDALL M. HOWES
ATTORNEYS AT LAW
  LOS ANGELES
         Case 2:14-cv-03650-FMO-FFM Document 202-3 Filed 01/19/18 Page 2 of 14 Page ID
                                          #:8609

                   1                          DECLARATION OF KENDALL M. HOWES
                   2            I, Kendall M. Howes, have personal knowledge of the facts set forth herein
                   3 and, if called to do so, could and would competently testify thereto.
                   4            1.        I am an attorney licensed to practice law in the State of California. I
                   5 am an associate at Latham & Watkins LLP and am counsel for plaintiff the City of
                   6 Almaty (“Plaintiff”) in this matter.
                   7            2.        I submit this declaration in support of Plaintiff City of Almaty’s
                   8 Notice of Motion and Motion to Compel Depositions and Responses and
                   9 Production of Documents Responsive to Plaintiff’s Interrogatories, Requests for
              10 Production of Documents and Requests for Admissions by Defendants.
              11                3.        Attached hereto as Exhibit 1 is a true and correct copy of Plaintiff
              12 City of Almaty’s Notice of Deposition of Defendant Iliyas Khrapunov, served
              13 September 8, 2017.
              14                4.        Attached hereto as Exhibit 2 is a true and correct copy of Plaintiff
              15 City of Almaty’s Notice of Deposition of Defendant Viktor Khrapunov, served
              16 September 8, 2017.
              17                5.        Attached hereto as Exhibit 3 is a true and correct copy of Plaintiff
              18 City of Almaty’s Notice of Deposition of Defendant Leila Khrapunova, served
              19 September 8, 2017.
              20                6.        Attached hereto as Exhibit 4 is a true and correct copy of Plaintiff
              21 City of Almaty’s Notice of Deposition of Defendant Madina Ablyazova, served
              22 September 8, 2017.
              23                7.        Attached hereto as Exhibit 5 is a true and correct copy of Plaintiff
              24 City of Almaty’s Notice of Deposition of Defendant Elvira Khrapunova, served
              25 September 12, 2017.
              26                8.        Attached hereto as Exhibit 6 is a true and correct copy of Plaintiff
              27 City of Almaty’s Notice of Deposition of Defendant Dmitry Kudryashov, served
              28 September 12, 2017.
                       US-DOCS\98327027                                                  DELCARATION OF KENDALL M. HOWES
ATTORNEYS AT LAW
  LOS ANGELES
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                   1            9.        Attached hereto as Exhibit 7 is a true and correct copy of Defendant
                   2 Iliyas Khrapunov’s Response to Plaintiff City of Almaty’s Second Set of
                   3 Interrogatories, served November 17, 2017, setting forth Iliyas’ objection based on
                   4 personal jurisdiction, as well as additional general objections to Plaintiff’s
                   5 Requests. The objections in his response are materially similar to the personal
                   6 jurisdiction and other general objections included in the responses listed below:
                   7                         a. Defendant Iliyas Khrapunov’s Response to Plaintiff’s Second
                   8                            Set of Requests for Production of Documents, served
                   9                            November 17, 2017;
              10                             b. Defendant Iliyas Khrapunov’s Response to Plaintiff’s First Set
              11                                of Requests for Admissions, served November 17, 2017;
              12                             c. Defendant Viktor Khrapunov’s Response to Plaintiff’s Second
              13                                Set of Interrogatories, served November 17, 2017;
              14                             d. Defendant Viktor Khrapunov’s Response to Plaintiff’s Second
              15                                Set of Requests for Production of Documents, served
              16                                November 17, 2017;
              17                             e. Defendant Viktor Khrapunov’s Response to Plaintiff’s First Set
              18                                of Requests for Admissions, served November 17, 2017;
              19                             f. Defendant Leila Khrapunova’s Response to Plaintiff’s Second
              20                                Set of Interrogatories, served November 17, 2017;
              21                             g. Defendant Leila Khrapunova’s Response to Plaintiff’s Second
              22                                Set of Requests for Production of Documents, served
              23                                November 17, 2017;
              24                             h. Defendant Leila Khrapunova’s Response to Plaintiff’s First Set
              25                                of Requests for Admissions, served November 17, 2017;
              26                             i. Defendant Madina Ablyazova’s Response to Plaintiff’s Second
              27                                Set of Interrogatories, served November 17, 2017;
              28
                       US-DOCS\98327027                                                DECLARATION OF KENDALL M. HOWES
ATTORNEYS AT LAW
  LOS ANGELES                                                          2
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                   1                         j. Defendant Madina Ablyazova’s Response to Plaintiff’s Second
                   2                            set of Requests for Production of Documents, served November
                   3                            17, 2017; and
                   4                         k. Defendant Madina Ablyazova’s Response to Plaintiff’s First
                   5                            Set of Requests for Admissions, served November 17, 2017.
                   6            10.       Attached hereto as Exhibit 8 is a true and correct copy of Defendant
                   7 Elvira Khrapunova’s Response to Plaintiff’s Third Set of Interrogatories, served
                   8 November 17, 2017, setting forth Elvira’s general objections to Plaintiff’s
                   9 Requests. The objections in her response are materially similar to the general
              10 objections included in the responses listed below:
              11                             a. Defendant Elvira Khrapunova’s Response to Plaintiff’s Third
              12                                Set of Requests for Production of Documents, served
              13                                November 17, 2017;
              14                             b. Defendant Elvira Khrapunova’s Response to Plaintiff’s Second
              15                                Set of Requests for Admissions, served November 17, 2017;
              16                             c. Defendant Dmitry Kudryashov’s Response to Plaintiff’s Third
              17                                Set of Interrogatories, served November 17, 2017;
              18                             d. Defendant Dmitry Kudryashov’s Response to Plaintiff’s Third
              19                                Set of Requests for Production of Documents, served
              20                                November 17, 2017;
              21                             e. Defendant Dmitry Kudryashov’s Response to Plaintiff’s
              22                                Second Set of Requests for Admissions, served November 17,
              23                                2017;
              24                             f. Defendant RPM USA, LLC’s Response to Plaintiff’s Third Set
              25                                of Interrogatories, served November 17, 2017;
              26                             g. Defendant RPM USA, LLC’s Response to Plaintiff’s Third Set
              27                                of Requests for Production of Documents, served November
              28                                17, 2017;
                       US-DOCS\98327027                                                DECLARATION OF KENDALL M. HOWES
ATTORNEYS AT LAW
  LOS ANGELES                                                          3
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                   1                      h. Defendant RPM-Maro LLC’s Response to Plaintiff’s Third Set
                   2                         of Interrogatories, served November 17, 2017;
                   3                      i. Defendant RPM-Maro LLC’s Response to Plaintiff’s Third Set
                   4                         of Requests for Production of Documents, served November
                   5                         17, 2017;
                   6                      j. Defendant Maro Design LLC’s Response to Plaintiff’s Third
                   7                         Set of Interrogatories, served November 17, 2017;
                   8                      k. Defendant Maro Design LLC’s Response to Plaintiff’s Third
                   9                         Set of Requests for Production of Documents, served
              10                             November 17, 2017;
              11                          l. Defendant Candian International Ltd’s Response to Plaintiff’s
              12                             Third Set of Interrogatories, served November 17, 2017;
              13                          m. Defendant Candian International Ltd’s Response to Plaintiff’s
              14                             Third Set of Requests for Production of Documents, served
              15                             November 17, 2017;
              16                          n. Defendant 628 Holdings LLC’s Response to Plaintiff’s Third
              17                             Set of Interrogatories, served November 17, 2017;
              18                          o. Defendant 628 Holdings LLC’s Response to Plaintiff’s Third
              19                             Set of Requests for Production of Documents, served
              20                             November 17, 2017;
              21                          p. Defendant Haute Hue LLC’s Response to Plaintiff’s Third Set
              22                             of Interrogatories, served November 17, 2017;
              23                          q. Defendant Haute Hue LLC’s Response to Plaintiff’s Third Set
              24                             of Requests for Production of Documents, served November
              25                             17, 2017;
              26                          r. Defendant Elvira Kudryashova as Trustee for the Kasan Family
              27                             Trust’s Response to Plaintiff’s Third Set of Interrogatories,
              28                             served November 17, 2017;
                       US-DOCS\98327027                                              DECLARATION OF KENDALL M. HOWES
ATTORNEYS AT LAW
  LOS ANGELES                                                       4
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                   1                         s. Defendant Elvira Kudryashova as Trustee for the Kasan Family
                   2                            Trust’s Response to Plaintiff’s Third Set of Requests for
                   3                            Production of Documents, served November 17, 2017;
                   4                         t. Defendant Dmitry Kudryashov as Trustee for the Kasan Family
                   5                            Trust’s Response to Plaintiff’s Third Set of Interrogatories,
                   6                            served November 17, 2017; and
                   7                         u. Defendant Dmitry Kudryashov as Trustee for the Kasan Family
                   8                            Trust’s Response to Plaintiff’s Third Set of Requests for
                   9                            Production of Documents, served November 17, 2017.
              10                11.       Attached hereto as Exhibit 9 is a true and correct copy of Plaintiff
              11 City of Almaty’s Second Set of Interrogatories to Defendant Iliyas Khrapunov,
              12 served September 8, 2017, setting forth Appendices A-D. Appendices A-D are
              13 materially similar to the Appendices attached to the following discovery request
              14 served by Plaintiff:
              15                             a. Plaintiff City of Almaty’s Second Set of Interrogatories to
              16                                Defendant Viktor Khrapunov, served September 8, 2017;
              17                             b. Plaintiff City of Almaty’s Second Set of Interrogatories to
              18                                Defendant Leila Khrapunova, served September 8, 2017; and
              19                             c. Plaintiff City of Almaty’s Second Set of Interrogatories to
              20                                Defendant Madina Ablyazova, served September 8, 2017.
              21                12.       Attached hereto as Exhibit 10 is a true and correct copy of Plaintiff
              22 City of Almaty’s Third Set of Interrogatories to Defendant Elvira Khrapunova,
              23 served September 12, 2017, setting forth Appendices A-B. Appendices A-B are
              24 materially similar to the Appendices included in Plaintiff City of Almaty’s Third
              25 Set of Interrogatories to Defendant Dmitry Kudryashov, served September 12,
              26 2017.
              27                13.       Attached hereto as Exhibit 11 is a true and correct copy of Plaintiff
              28 City of Almaty’s Third Set of Requests for Production of Documents to Defendant
                       US-DOCS\98327027                                                 DECLARATION OF KENDALL M. HOWES
ATTORNEYS AT LAW
  LOS ANGELES                                                           5
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                   1 Elvira Khrapunova, served September 12, 2017, setting forth Appendices A-F.
                   2 Appendices A-F are materially similar to the Appendices attached to the following
                   3 discovery request served by Plaintiff:
                   4                      a. Plaintiff City of Almaty’s Second Set of Requests for
                   5                         Admissions to Defendant Elvira Khrapunova, served September
                   6                         12, 2017;
                   7                      b. Plaintiff City of Almaty’s Third Set of Requests for Production
                   8                         of Documents to Defendant Dmitry Kudryashov, served
                   9                         September 12, 2017;
              10                          c. Plaintiff City of Almaty’s Second Set of Requests for
              11                             Admissions to Defendant Dmitry Kudryashov, served
              12                             September 12, 2017;
              13                          d. Plaintiff City of Almaty’s Third Set of Requests for Production
              14                             of Documents to Defendant RPM USA, LLC, served
              15                             September 12, 2017;
              16                          e. Plaintiff City of Almaty’s Third Set of Requests for Production
              17                             of Documents to Defendant RPM-Maro LLC, served
              18                             September 12, 2017;
              19                          f. Plaintiff City of Almaty’s Third Set of Requests for Production
              20                             of Documents to Defendant Maro Design LLC, served
              21                             September 12, 2017;
              22                          g. Plaintiff City of Almaty’s Third Set of Requests for Production
              23                             of Documents to Defendant Candian International Ltd, served
              24                             September 12, 2017;
              25                          h. Plaintiff City of Almaty’s Third Set of Requests for Production
              26                             of Documents to Defendant 628 Holdings LLC, served
              27                             September 12, 2017;
              28
                       US-DOCS\98327027                                             DECLARATION OF KENDALL M. HOWES
ATTORNEYS AT LAW
  LOS ANGELES                                                      6
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                   1                      i. Plaintiff City of Almaty’s Third Set of Requests for Production
                   2                         of Documents to Defendant Haute Hue LLC, served September
                   3                         12, 2017;
                   4                      j. Plaintiff City of Almaty’s Third Set of Requests for Production
                   5                         of Documents to Defendant Elvira Kudryashova as Trustee for
                   6                         the Kasan Family Trust, served September 12, 2017;
                   7                      k. Plaintiff City of Almaty’s Third Set of Requests for Production
                   8                         of Documents to Defendant Dmitry Kudryashov as Trustee for
                   9                         the Kasan Family Trust, served September 12, 2017;
              10                          l. Plaintiff City of Almaty’s Second Set of Requests for
              11                             Production of Documents to Defendant Iliyas Khrapunov,
              12                             served September 8, 2017;
              13                          m. Plaintiff City of Almaty’s First Set of Requests for Admissions
              14                             to Defendant Iliyas Khrapunov, served September 15, 2017;
              15                          n. Plaintiff City of Almaty’s Second Set of Requests for
              16                             Production of Documents to Defendant Viktor Khrapunov,
              17                             served September 8, 2017;
              18                          o. Plaintiff City of Almaty’s First Set of Requests for Admissions
              19                             to Defendant Viktor Khrapunov, served September 15, 2017;
              20                          p. Plaintiff City of Almaty’s Second Set of Requests for
              21                             Production of Documents to Defendant Leila Khrapunova,
              22                             served September 8, 2017;
              23                          q. Plaintiff City of Almaty’s First Set of Requests for Admissions
              24                             to Defendant Leila Khrapunova, served September 15, 2017;
              25                          r. Plaintiff City of Almaty’s Second Set of Requests for
              26                             Production of Documents to Defendant Madina Ablyazova,
              27                             served September 8, 2017; and
              28
                       US-DOCS\98327027                                             DECLARATION OF KENDALL M. HOWES
ATTORNEYS AT LAW
  LOS ANGELES                                                      7
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                   1                         s. Plaintiff City of Almaty’s First Set of Requests for Admissions
                   2                            to Defendant Madina Ablyazova, served September 15, 2017.
                   3            14.       Attached hereto as Exhibit 12 is a true and correct copy of Plaintiff
                   4 City of Almaty’s Second Set of Interrogatories to Defendant Elvira Khrapunova,
                   5 served June 3, 2015, to which Defendant has failed to provide any responses or
                   6 objections whatsoever.
                   7            15.       Attached hereto as Exhibit 13 is a true and correct copy of Plaintiff
                   8 City of Almaty’s Second Set of Interrogatories to Defendant Dmitry Kudryashov,
                   9 served June 3, 2015, to which Defendant has failed to provide any responses or
              10 objections whatsoever.
              11                16.       Attached hereto as Exhibit 14 is a true and correct copy of Plaintiff
              12 City of Almaty’s Second Set of Interrogatories to Defendant RPM USA, LLC,
              13 served June 3, 2015, to which Defendant has failed to provide any responses or
              14 objections whatsoever.
              15                17.       Attached hereto as Exhibit 15 is a true and correct copy of Plaintiff
              16 City of Almaty’s Second Set of Interrogatories to Defendant RPM-Maro LLC,
              17 served June 3, 2015, to which Defendant has failed to provide any responses or
              18 objections whatsoever.
              19                18.       Attached hereto as Exhibit 16 is a true and correct copy of Plaintiff
              20 City of Almaty’s Second Set of Interrogatories to Defendant Maro Design LLC,
              21 served June 3, 2015, to which Defendant has failed to provide any responses or
              22 objections whatsoever.
              23                19.       Attached hereto as Exhibit 17 is a true and correct copy of Plaintiff
              24 City of Almaty’s Second Set of Interrogatories to Defendant Candian International
              25 Ltd, served June 3, 2015, to which Defendant has failed to provide any responses
              26 or objections whatsoever.
              27                20.       Attached hereto as Exhibit 18 is a true and correct copy of Plaintiff
              28 City of Almaty’s Second Set of Interrogatories to Defendant 628 Holdings LLC,
                       US-DOCS\98327027                                                 DECLARATION OF KENDALL M. HOWES
ATTORNEYS AT LAW
  LOS ANGELES                                                          8
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                   1 served June 3, 2015, to which Defendant has failed to provide any responses or
                   2 objections whatsoever.
                   3            21.       Attached hereto as Exhibit 19 is a true and correct copy of Plaintiff
                   4 City of Almaty’s Second Set of Interrogatories to Defendant Haute Hue LLC,
                   5 served June 3, 2015, to which Defendant has failed to provide any responses or
                   6 objections whatsoever.
                   7            22.       Attached hereto as Exhibit 20 is a true and correct copy of Plaintiff
                   8 City of Almaty’s Second Set of Interrogatories to Defendant Elvira Kudryashova
                   9 as Trustee for the Kasan Family Trust, served June 3, 2015, to which Defendant
              10 has failed to provide any responses or objections whatsoever.
              11                23.       Attached hereto as Exhibit 21 is a true and correct copy of Plaintiff
              12 City of Almaty’s Second Set of Interrogatories to Defendant Dmitry Kudryashov
              13 as Trustee for the Kasan Family Trust, served June 3, 2015, to which Defendant
              14 has failed to provide any responses or objections whatsoever.
              15                24.       Attached hereto as Exhibit 22 is a true and correct copy of Plaintiff
              16 City of Almaty’s First Set of Requests for Admissions to Defendant Elvira
              17 Khrapunova, served June 3, 2015, to which Defendant has failed to provide any
              18 responses or objections whatsoever.
              19                25.       Attached hereto as Exhibit 23 is a true and correct copy of Plaintiff
              20 City of Almaty’s First Set of Requests for Admissions to Defendant Dmitry
              21 Kudryashov, served June 3, 2015, to which Defendant has failed to provide any
              22 responses or objections whatsoever.
              23                26.       Attached hereto as Exhibit 24 is a true and correct copy of Plaintiff
              24 City of Almaty’s First Set of Requests for Admissions to Defendant RPM USA,
              25 LLC, served June 3, 2015, to which Defendant has failed to provide any responses
              26 or objections whatsoever.
              27                27.       Attached hereto as Exhibit 25 is a true and correct copy of Plaintiff
              28 City of Almaty’s First Set of Requests for Admissions to Defendant RPM-Maro
                       US-DOCS\98327027                                                 DECLARATION OF KENDALL M. HOWES
ATTORNEYS AT LAW
  LOS ANGELES                                                          9
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                   1 LLC, served June 3, 2015, to which Defendant has failed to provide any responses
                   2 or objections whatsoever.
                   3            28.       Attached hereto as Exhibit 26 is a true and correct copy of Plaintiff
                   4 City of Almaty’s First Set of Requests for Admissions to Defendant Maro Design
                   5 LLC, served June 3, 2015, to which Defendant has failed to provide any responses
                   6 or objections whatsoever.
                   7            29.       Attached hereto as Exhibit 27 is a true and correct copy of Plaintiff
                   8 City of Almaty’s First Set of Requests for Admissions to Defendant Candian
                   9 International Ltd, served June 3, 2015, to which Defendant has failed to provide
              10 any responses or objections whatsoever.
              11                30.       Attached hereto as Exhibit 28 is a true and correct copy of Plaintiff
              12 City of Almaty’s First Set of Requests for Admissions to Defendant 628 Holdings
              13 LLC, served June 3, 2015, to which Defendant has failed to provide any responses
              14 or objections whatsoever.
              15                31.       Attached hereto as Exhibit 29 is a true and correct copy of Plaintiff
              16 City of Almaty’s First Set of Requests for Admissions to Defendant Haute Hue
              17 LLC, served June 3, 2015, to which Defendant has failed to provide any responses
              18 or objections whatsoever.
              19                32.       Attached hereto as Exhibit 30 is a true and correct copy of Plaintiff
              20 City of Almaty’s First Set of Requests for Admissions to Defendant Elvira
              21 Kudryashova as Trustee for the Kasan Family Trust, served June 3, 2015, to which
              22 Defendant has failed to provide any responses or objections whatsoever.
              23                33.       Attached hereto as Exhibit 31 is a true and correct copy of Plaintiff
              24 City of Almaty’s First Set of Requests for Admissions to Defendant Dmitry
              25 Kudryashov as Trustee for the Kasan Family Trust, served June 3, 2015, to which
              26 Defendant has failed to provide any responses or objections whatsoever.
              27                34.       Attached hereto as Exhibit 32 is a true and correct copy of Plaintiff
              28 City of Almaty’s Second Set of Requests for Production of Documents to
                       US-DOCS\98327027                                                 DECLARATION OF KENDALL M. HOWES
ATTORNEYS AT LAW
  LOS ANGELES                                                          10
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                   1 Defendant Elvira Khrapunova, served May 29, 2015, to which Defendant has
                   2 failed to provide any responses or objections whatsoever.
                   3            35.       Attached hereto as Exhibit 33 is a true and correct copy of Plaintiff
                   4 City of Almaty’s Second Set of Requests for Production of Documents to
                   5 Defendant Dmitry Kudryashov, served May 29, 2015, to which Defendant has
                   6 failed to provide any responses or objections whatsoever.
                   7            36.       Attached hereto as Exhibit 34 is a true and correct copy of Plaintiff
                   8 City of Almaty’s Second Set of Requests for Production of Documents to
                   9 Defendant RPM USA, LLC, served May 29, 2015, to which Defendant has failed
              10 to provide any responses or objections whatsoever.
              11                37.       Attached hereto as Exhibit 35 is a true and correct copy of Plaintiff
              12 City of Almaty’s Second Set of Requests for Production of Documents to
              13 Defendant RPM-Maro LLC, served May 29, 2015, to which Defendant has failed
              14 to provide any responses or objections whatsoever.
              15                38.       Attached hereto as Exhibit 36 is a true and correct copy of Plaintiff
              16 City of Almaty’s Second Set of Requests for Production of Documents to
              17 Defendant Maro Design LLC, served May 29, 2015, to which Defendant has failed
              18 to provide any responses or objections whatsoever.
              19                39.       Attached hereto as Exhibit 37 is a true and correct copy of Plaintiff
              20 City of Almaty’s Second Set of Requests for Production of Documents to
              21 Defendant Candian International Ltd, served May 29, 2015, to which Defendant
              22 has failed to provide any responses or objections whatsoever.
              23                40.       Attached hereto as Exhibit 38 is a true and correct copy of Plaintiff
              24 City of Almaty’s Second Set of Requests for Production of Documents to
              25 Defendant 628 Holdings LLC, served May 29, 2015, to which Defendant has failed
              26 to provide any responses or objections whatsoever.
              27                41.       Attached hereto as Exhibit 39 is a true and correct copy of Plaintiff
              28 City of Almaty’s Second Set of Requests for Production of Documents to
                       US-DOCS\98327027                                                 DECLARATION OF KENDALL M. HOWES
ATTORNEYS AT LAW
  LOS ANGELES                                                          11
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                   1 Defendant Haute Hue LLC, served May 29, 2015, to which Defendant has failed to
                   2 provide any responses or objections whatsoever.
                   3            42.       Attached hereto as Exhibit 40 is a true and correct copy of Plaintiff
                   4 City of Almaty’s Second Set of Requests for Production of Documents to
                   5 Defendant Elvira Kudryashova as Trustee for the Kasan Family Trust, served May
                   6 29, 2015, to which Defendant has failed to provide any responses or objections
                   7 whatsoever.
                   8            43.       Attached hereto as Exhibit 41 is a true and correct copy of Plaintiff
                   9 City of Almaty’s Second Set of Requests for Production of Documents to
              10 Defendant Dmitry Kudryashov as Trustee for the Kasan Family Trust, served May
              11 29, 2015, to which Defendant has failed to provide any responses or objections
              12 whatsoever.
              13                44.       Attached hereto as Exhibit 42 is a true and correct copy of the Court’s
              14 Order Re Consolidation and Further Proceedings, dated July 20, 2017. (Docket
              15 “Dkt.” 138)
              16                45.       Attached hereto as Exhibit 43 is a true and correct copy of the Court’s
              17 Order Re: Stipulation, dated August 2, 2017. (Dkt. 143)
              18                46.       Attached hereto as Exhibit 44 is a true and correct copy of an
              19 evidentiary hearing transcript dated November 17, 2017, from the Southern
              20 District of New York Action, CF 135 Flat LLC v. Triadou, 15-CV-5345 (KHP).
              21                47.       Attached hereto as Exhibit 45 is a true and correct copy of excerpts
              22 from the deposition of Elvira Kudryashova as the person most knowledgeable for
              23 RPM-Maro LLC on May 25, 2017, in the Eastern District of New York action, In
              24 re Application of City of Almaty for Order to Take Discovery Pursuant to 28
              25 U.S.C. § 1782, 16-mc-00623-WFK.
              26                48.       Attached hereto as Exhibit 46 is a true and correct copy of Triadou’s
              27 Responses and Objections to Almaty/BTA’s Second Set of Interrogatories from the
              28 Southern District of New York action City of Almaty, Kazakhstan and BTA Bank,
                       US-DOCS\98327027                                                 DECLARATION OF KENDALL M. HOWES
ATTORNEYS AT LAW
  LOS ANGELES                                                          12
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                                          #:8621

                   1 JSC., v. Mukhtar Ablyazov, Viktor Khrapunov, Ilyas Khrapunov, and Triadou SPC,
                   2 S.A., 15 Civ. 5345 (AJN).
                   3            49.       Attached hereto as Exhibit 47 is a true and correct copy of an Order
                   4 dated November 25, 2016 by the Rt. Hon. Lord Justice Longmore in JSC BTA
                   5 Bank v. Ablyazov & ANR, No. A3/2016/2264 (KZ Appeal).
                   6
                   7            I declare under penalty of perjury under the laws of the United States of
                   8 America that the foregoing is true and correct.
                   9            Executed in Los Angeles, California on January 11, 2018.
              10
                                                                      By   /s/ Kendall M. Howes
              11                                                           Kendall M. Howes
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                       US-DOCS\98327027                                                DECLARATION OF KENDALL M. HOWES
ATTORNEYS AT LAW
  LOS ANGELES                                                         13
